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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

                            Form 7. Mediation Questionnaire
     Instructions for this form: https://www.ca9.uscourts.gov/forms/form7instructions.pdf

9th Cir. Case Number(s) 23-15992
Case Name FTC v. Microsoft Corp. and Activision Blizzard, Inc.
                                         Imad D. Abyad
Counsel submitting this form
                                    Federal Trade Commission
Represented party/parties
Briefly describe the dispute that gave rise to this lawsuit.

In January 2022, Microsoft Corp. and Activision Blizzard, Inc. announced a
planned merger. Microsoft controls one of the video gaming industry's biggest
platforms, including the high-performance gaming console Xbox, the leading
multi-game library subscription service (Game Pass), and the dominant cloud
gaming service (xCloud). Activision, in turn, is one that industry's "Big 4"
independent video game publishers, with many "AAA" games among its assets.

In December 2022, the Federal Trade Commission commenced administrative
proceedings to determine if the merger may substantially lessen competition in
any line of commerce, in violation of Section 7 of the Clayton Act and Section 5
of the FTC Act, 15 U.S.C. §§ 18, 45. The FTC administrative hearing on the
antitrust merits is set to begin on August 2, 2023.

Press reports, meanwhile, have indicated that defendants were considering
consummating their proposed merger despite findings by foreign competition
authorities that the merger would violate their competition laws. Accordingly, on
June 12, 2023, the FTC sought a preliminary injunction in the district court
under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), to halt the merger
pending determination by the FTC of whether the proposed merger violates the
U.S. antitrust laws.




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Briefly describe the result below and the main issues on appeal.
 The district court denied preliminary relief despite agreeing with the FTC on key
 elements such as the relevant geographic and product markets for analysis. The
 district court found that the combined firm would have the ability to foreclose its
 rivals, and would likely offer Activision content exclusively on Microsoft’s
 Game Pass service, but not on rival services. Nonetheless, the court denied relief
 because it viewed Microsoft as lacking the post-merger incentives to foreclose
 rivals in some markets (Consoles and Cloud Gaming), and because it viewed the
 merger as, on balance, procompetitive in the multi-game library services market.
 The court also deemed Microsoft's post-complaint side deals (and even mere
 offers) as negating the incentive to foreclose and thus sufficient to remedy any
 substantial lessening of competition as a result of the merger. Although the court
 acknowledged that the record contains at least conflicting evidence of
 anticompetitive effects, it found the equities do not support preliminary relief.

 On appeal, the principal issues are likely to be, among others, the district court's
 misapplication of Section 13(b)'s legal standard for relief; the sufficiency for
 preliminary relief of the court's finding of foreclosure in the multi-game library
 services market; and the court's erroneous "counting" of defendants' proffered
 remedies as part of the FTC's "likelihood of success" analysis.

Describe any proceedings remaining below or any related proceedings in other
tribunals.
 No further proceedings remain in the district court.

 The proceedings to determine the proposed merger's antitrust merits, however,
 are yet to begin. These are to be adjudicated before the FTC's administrative
 tribunal, with a hearing before an administrative law judge scheduled to start on
 August 2, 2023.




Signature /s/ Imad Abyad                                                Date July 17, 2023
(use “s/[typed name]” to sign electronically-filed documents)


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